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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                       OCT       I 2011
                                                                                  CLERK, US. DISTRICT COURT
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                                    Alexandria Division                               A! FXANDRIA, VffieiNIA   _


 JON H. OBERG,

                        Plaintiff,

                                                     Civil Action No. 1:07cv0960 (JFA)

 NELNET,INC.,<?/a/.,

                        Defendants.



                                               ORDER


         For good cause, it is hereby

        ORDERED that the stay ordered by the court on August 13,2010 (Docket no. 558) shall

 continue until further order of the court. While this matter is stayed no pleadings shall be filed

 other than those related to the resolution of the claims by the parties. In the event there has not

 been a final resolution of the claims with all the defendants, the court will have a status

 conference on Monday, October 18, 2010 at 2:00 p.m. to discuss liftingthe stay and scheduling

 further proceedings.

        Entered this 1st day of October, 2010.



                                                     John F. Anderson
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                                                     United
                                                       John F. Anders6n
                                                        United States Magistrate Judge

 Alexandria, Virginia
